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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA



  DR. DOROTHY NAIRNE, et al.,
                                                   Civil Action No. 3:22-cv-00178-SDD-SDJ
         Plaintiffs,

  v.                                               Chief Judge Shelly D. Dick

  R. KYLE ARDOIN, in his official capacity
  as Secretary of State of Louisiana,

         Defendant.

                                    NOTICE OF APPEAL

       Notice is hereby given that the State of Louisiana, by and through Elizabeth B. Murrill, the

Attorney General of Louisiana, hereby appeals this Court’s February 8, 2024 Order, (ECFs No.

233 and 234) and all other orders ancillary, related, and precedent thereto, to the United States

Court of Appeals for the Fifth Circuit. This appeal is brought pursuant to 28 U.S.C. § 1291 and

§ 1292(a)(1).



       Respectfully submitted, this the 19th day of February, 2024.


                                              Elizabeth B. Murrill
                                              Louisiana Attorney General

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                                CERTIFICATE OF SERVICE

        I hereby certify that, on this 19th day of February 2024, the foregoing has been filed with
the Clerk via the CM/ECF system that has sent a Notice of Electronic filing to all counsel of
record.

                                        /s/ Carey T. Jones
                                          Carey T. Jones




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